Case 5:21-cv-11532-JEL-APP ECF No. 60, PageID.1682 Filed 01/20/22 Page 1 of 10




                      UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT MICHIGAN

RITA C. SIMPSON-VLACH,
ALAN SIMPSON-VLACH,
on behalf of A.S. and M.S., and
individually, KATHY BISHOP,
CHRISTOPHER PLACE,
on behalf of C.P. and H.P, and
individually,

                          Plaintiffs,    Civil Action No. 21-cv-11532
v.                                       Honorable Judith E. Levy


MICHIGAN DEPARTMENT OF EDUCATION,
ANN ARBOR PUBLIC SCHOOLS,
WASHTENAW INTERMEDIATE SCHOOL DISTRICT,
DR. JEANICE SWIFT, in her official capacity,
DR. MARIANNE FIDISHIN, in her official capacity,
SCOTT MENZEL, in his official capacity,
NAOMI NORMAN, in her official capacity,
MICHAEL F. RICE, Ph.D., in his official capacity,


                     Defendants.
__________________________________/

 Charlotte G. Carne (P61153)            Neil Giovanatti (P82305)
 Rory J. Bellantoni                     Assistant Attorney General
 Brain Injury Rights Group              Attorney for State Defendants
 Attorneys for Plaintiffs               Michigan Department of Attorney
 300 East 95th Street, Suite 130        General
 New York, New York 10128               Health, Education & Family Services
 646-850-5035                           P.P. Box 30758
 charlotte@pabilaw.org                  Lansing, MI 48909
                                        (517) 335-7603
                                        giovanattin@michigan.gov
 Richard J. Landau (P42223)             Timothy J. Mullins (P28021)
 Attorney for AAPS Defendants           John L Miller (P71913)
Case 5:21-cv-11532-JEL-APP ECF No. 60, PageID.1683 Filed 01/20/22 Page 2 of 10




 5340 Plymouth Rd.                         Travis M. Comstock (P72025)
 Suite 200                                 Giarmarco, Mullins & Horton, P,C.
 Ann Arbor, MI 48105                       Attorneys for WISD Defendants
 734-865-1585                              Troy, MI 48084
 rjlandau@rjlps.com                        (248) 457-7020
                                           tmullins@gmhlaw.com
                                           jmiller@gmhlaw.com
                                           tcomstock@gmhlaw.com


          PLAINTIFFS’ REPLY BRIEF IN OPPOSITION TO
       THE WASHTENAW INTERMEDIAT SCHOOL DISTRICT
     DEFENDANTS’ RESPONSE AND OBJECTION TO PLAINTIFFS’
        MOTION FOR A TEMPORARY RESTRAINING ORDER




                                      ii
Case 5:21-cv-11532-JEL-APP ECF No. 60, PageID.1684 Filed 01/20/22 Page 3 of 10




I.    PRELIMINARY STATEMENT

      On January 5, 2022, Plaintiffs moved for a temporary restraining order:


             1.     To enjoin AAPS from changing the Plaintiffs’ and
             putative class members’ current educational placement from in-
             person instruction to remote, virtual instruction in violation of
             IDEA.

             2.     To enjoin the WISD and MDE from allowing their school
             districts and local educational agencies from changing the
             educational placement of students with qualifying disabilities
             under IDEA to virtual, remote learning without complying with
             the procedural safeguards outlined in IDEA.
(ECF No. 52, PageID.1383.)
      The WISD Defendants filed their Response on January 14, 2022. (ECF No.
57.) Of all the Defendants’ Responses to Plaintiffs’ Motion for a Temporary
Restraining Order, the WISD Defendants’ engage in the most hyperbole and
exaggeration. (Id.) Despite these distractions, they fail to show any reason the
requested relief should not issue. Accordingly, the relief requested in Plaintiffs’
motion for a temporary restraining order should be granted.

II.   LEGAL STANDARDS

      Plaintiffs incorporate by reference the legal standard articulated in their

Motion for a Temporary Restraining Order, pursuant to 20 U.S.C. § 1415(j). (ECF

No. 52.) Section 1415(j), known as the IDEA's stay-put provision, provides in

pertinent part, "during the pendency of any proceedings conducted pursuant to this

section unless the State or local educational agency and the parents otherwise agree,

                                         1
Case 5:21-cv-11532-JEL-APP ECF No. 60, PageID.1685 Filed 01/20/22 Page 4 of 10




the child shall remain in the then-current educational placement of the child." 20

U.S.C. § 1415(j), 34 C.F.R. § 300.518.


III.   ANALYSIS

       A.    A Temporary Shift to Virtual Learning for All Students is a Change
             in Placement
       WISD Defendants state that “no federal court has held, in the context of
COVID-19 precautionary measures to control the spread of the virus, that a
temporary shift to virtual learning violates the IDEA for every disabled student in
an entire district, court, or even state.” (ECF No. 57, PageID.1583.) This is
incorrect.
       In E.E. v. the State of California, students with disabilities challenged a
California state law that limited distance learning to a single format that was
inaccessible to students with disabilities. E.E. v. State of California, 21-cv-07585-
S1, 2021 WL 5139660, at * 1 (N.D. Cal. 2021). Assembly Bill 130 limited distance
learning to independent study for all students – disabled or non-disabled. Id. at *2.
Plaintiffs introduced evidence that independent study was not accessible to them due
to their disabilities. Id. The Court issued a temporary restraining order ordering
defendants to “take all steps necessary to restore the status quo by ensuring that these
students have meaningful access to:”


             1.     Virtual instruction, including direct assistance from
             trained instructors and opportunities for interaction with peers,
             comparable to that provided in the 2020-2021 school year; and

             2. The services and accommodations in the [students’]
             Individualized Education Plans (“IEPs”).
                                           2
Case 5:21-cv-11532-JEL-APP ECF No. 60, PageID.1686 Filed 01/20/22 Page 5 of 10




Id. at *16.
      The Court held that AB 130 discriminated against Plaintiffs under IDEA, the
ADA, and the Rehabilitation Act. Id. Applying E.E. to the case at bar, a temporary
shift to virtual learning for all students, which does not provide students meaningful
access to education, constitutes a change of placement. Id. The WISD Defendants’
compliance in the AAPS Defendants’ systemic change in placement to remote
learning, even though it applied to both disabled and non-disabled children alike,
discriminated against disabled students. Whether the WISD Defendants allow that
its districts provide in-person or virtual learning, they must ensure that disabled
students have meaningful access to education. Id.
      The WISD Defendants also state that “[t]he U.S. Department of Education
had [sic] not changed its guidance from early spring 2020 – the temporary provision
of online or virtual learning is not a change of placement as contemplated by the
IDEA.” (ECF No. 57, PageID.1585.) This is not exactly what the U.S. Department
of Education indicated in its guidance. (ECF No. 1.) In response to the COVID-19
pandemic, the United States Department of Education (“U.S. DOE”) published two
guidance documents to school districts in March of 2020: a Supplemental Fact Sheet
and a Questions and Answers document. (ECF No. 1.) The Fact Sheet stated: “To
be clear: ensuring compliance with the Individuals with Disabilities Education Act
(IDEA), Section 504 of the Rehabilitation Act (Section § 504), and Title II of the
Americans with Disabilities Act should not prevent any school from offering
educational programs through distance instruction.” (ECF No. 1.) The Questions
and Answers sheet stated that each school would have to “make an individualized

                                          3
Case 5:21-cv-11532-JEL-APP ECF No. 60, PageID.1687 Filed 01/20/22 Page 6 of 10




determination whether and to what extent compensatory services may be needed,
consistent with applicable requirements, including to make up for any skills that may
have been lost.” (Id.) The U.S. DOE did not provide any waivers of IDEA to any
state. (Id.) Just because the U.S. DOE stated that IDEA did not prevent any school
from offering virtual instruction, it also did not waive any of IDEA’s procedural
requirements. (Id.) Moreover, the U.S. DOE has been clear about the impact of the
COVID-19 pandemic. Indeed, the U.S. Department of Education’s Office of Civil
Rights issued a report entitled, Education in a Pandemic: The Disparate Impacts of
COVID-19 on America’s Students. (Exhibit 1.) This report illustrates that the
COVID-19 disruptions are exacerbating longstanding disability-based disparities in
academic achievement and the administrative process has done little to remedy these
disparities. (Id.)
       Lastly, the WISD Defendants make the absurd claim that if the Court grants
the requested relief, it will result in school closures for winter storms, staff strikes,
or tornados being labeled “changes in placement” under IDEA. There is one giant
flaw in this argument. Schools do not offer any instruction during such closures.
When schools are closed completely – for disabled and non-disabled students alike
– with no opportunity for virtual instruction, IDEA does not apply. IDEA only
applies when schools offer non-disabled students educational opportunities. It is
there to ensure that disabled students have the same meaningful access to these
opportunities.

      B.     Section 1415(j) is Applicable to “The Pendency of Any Proceedings”

      Section 1415(j), the stay put provision, reads:

                                           4
Case 5:21-cv-11532-JEL-APP ECF No. 60, PageID.1688 Filed 01/20/22 Page 7 of 10




             during the pendency of any proceedings conducted pursuant to
             this section, unless the State or local educational agency and the
             parents otherwise agree, the child shall remain in the then-current
             educational placement of the child, or, if applying for initial
             admission to a public school, shall, with the consent of the
             parents, be placed in the public school program until all such
             proceedings have been completed. 20 U.S.C. § 1415.

      Section 1415(j) requires school districts to keep children in their current
educational placement “during the pendency of any proceedings conducted pursuant
to this section.” This includes mediation, due process hearings, state administrative
review and civil actions. See Joshua A. v. Rocklin Unified School Dist, 559 F.3d
1036, 1038 (9th Cir. 2009). Accordingly, parents of students qualifying under IDEA
can bring a complaint on day one of a school closure to ensure their children stay in
their current placement pending the outcome of the underlying proceedings.
Admittedly, Plaintiffs have not filed new due process complaints in the case at bar.
However, an automatic injunction may issue under the IDEA’s stay-put provision in
the absence of administrative proceedings. Requiring plaintiffs, such as the Plaintiffs
herein, to go through the administrative proceedings simply to obtain a stay in
proceedings would be putting form over substance. D.M. v. New Jersey Dep't of
Educ., No. CIV.A. 14-4620 ES, 2014 WL 4271646, at *6 (D.N.J. Aug. 28, 2014).


      C.     Plaintiffs Also Satisfy the Traditional Injunctive Relief Elements

      Under the traditional injunctive relief elements, a Court’s decision to award

preliminary injunctive relief is governed by a four-factor test: 1) whether the moving

party has a strong likelihood of success on the merits; 2) whether the moving party
                                          5
Case 5:21-cv-11532-JEL-APP ECF No. 60, PageID.1689 Filed 01/20/22 Page 8 of 10




would suffer irreparable injury in the absence of injunctive relief; 3) whether an

award of preliminary injunctive relief would cause substantial harm to others, and

4) whether the public interest would be served by the requested award. Overstreet

v. Lexington-Fayette Urb. Cty. Gov't, 305 F.3d 566, 573 (6th Cir. 2002). Plaintiffs

satisfy these elements as outlined in Plaintiffs’ Reply to AAPS Defendants’

Response to Plaintiffs’ Motion for Temporary Restraining Order.             Plaintiffs

incorporate that argument as if restated in its entirety herein.


IV.   CONCLUSION

      For the reasons stated above, Plaintiffs respectfully request the Court issue a
temporary restraining order ordering defendants to take all steps necessary to restore
the status quo by ensuring that Plaintiffs have meaningful access to education by:


             1.     Enjoining AAPS from changing the Plaintiffs’ and
             putative class members’ current educational placement from in-
             person instruction to remote, virtual instruction in violation of
             IDEA.

             2.     Enjoining the WISD and MDE from allowing their school
             districts and local educational agencies to change the educational
             placement of students with qualifying disabilities under IDEA to
             virtual, remote learning without complying with the procedural
             safeguards outlined in IDEA.


                                               Respectfully submitted,
                                               Brain Injury Rights Group
                                               Attorneys for Plaintiffs


                                           6
Case 5:21-cv-11532-JEL-APP ECF No. 60, PageID.1690 Filed 01/20/22 Page 9 of 10




                                  By:         /S/ Charlotte G. Carne
                                            Charlotte G. Carne (P61153)
                                            300 East 95th Street, Suite 130
                                            New York, NY 10128
                                            (646) 850-5035
                                            charlotte@pabilaw.org




                                        7
Case 5:21-cv-11532-JEL-APP ECF No. 60, PageID.1691 Filed 01/20/22 Page 10 of 10




             PLAINTIFFS' CERTIFICATE OF SERVICE
                FOR PLAINTIFFS’ REPLY BRIEF
 IN OPPOSITION TO WISD DEFENDANTS’ RESPONSE TO PLAINTIFFS’
        MOTION FOR TEMPORARY RESTRAINING ORDER


       I hereby certify that on January 20, 2022, I electronically filed the Plaintiffs'

 Reply Brief in Opposition to WISD Defendants’ Response to Plaintiffs’ Motion for

 Temporary Restraining Order with the Clerk of the Court using the ECF System,

 which will provide electronic copies to all attorneys of record in this matter.

                                  By:        /S/ Charlotte G. Carne
                                         Charlotte G. Carne (P61153)
                                         300 East 95th Street, Suite 130
                                         New York, NY 10128
                                         (646) 850-5035
                                         charlotte@pabilaw.org




                                           8
